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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                    24-MJ-02934-Torres
                          CASE NO. ____________________________

UNITED STATES OF AMERICA

v.

MOISES RODRIGUEZ SANTIAGO,

      Defendant.
___________________________________/

                                  CRIMINAL COVER SHEET

     1. Did this matter originate from a matter pending in the Northern Region of the United States
        Attorney=s Office prior to August 8, 2014 (Mag. Judge Shaniek M. Maynard)? No

     2. Did this matter originate from a matter pending in the Central Region of the United States
        Attorney=s Office prior to October 3, 2019 (Mag. Judge Jared M. Strauss)? No

     3. Did this matter involve the participation of or consultation with now Magistrate Judge
        Eduardo I. Sanchez during his tenure at the U.S. Attorney’s Office, which concluded on
        January 22, 2023? No

     4. Did this matter involve the participation of or consultation now Magistrate Judge Marta
        Fulgueira Elfenbein during her tenure at the U.S. Attorney’s Office, which concluded on
        March 5, 2024? No



                                             Respectfully submitted,

                                             MARKENZY LAPOINTE
                                             UNITED STATES ATTORNEY


                                       By:   /s/ Lindsey Maultasch
                                             Lindsey Maultasch
                                             Assistant United States Attorney
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                                                                       ID#26048




    May 10, 2024
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     AFFIDAVIT IN SUPPORT OF AN APPLICATION FOR A SEARCH WARRANT

        I, Timothy Augustyniak, having been first duly sworn, hereby depose and state as follows:

                       INTRODUCTION AND AGENT BACKGROUND

        1.       I am a law enforcement officer of the United States within the meaning of Section

 2510(7) of Title 18 of the United States Code. That is, I am an officer of the United States who is

 empowered by law to conduct investigations of, and make arrests for, violations of federal law,

 including the offenses enumerated in Title 18, United States Code, Sections 2422, 2423, 2251, and

 2252, et seq.

        2.       I am a Special Agent with the Federal Bureau of Investigation (“FBI”) and have

 been so employed since September 2015. I am currently assigned to the Crimes Against Children

 Squad and the FBI Child Exploitation Task Force in FBI’s Miami Field Office. My duties include

 the investigation of crimes involving the sexual exploitation of minors, such as sex trafficking and

 commercial trafficking of minors, and the trafficking in, production of, and possession of child

 pornography.

        3.       As a federal agent, I have participated in investigations of persons suspected of

 violating federal child pornography and child exploitation laws, including Title 18, United States

 Code, Sections 2251, 2252, 2252A, and 2422. These investigations have included the use of

 surveillance techniques, undercover activities, interviewing of subjects and witnesses, and the

 planning and execution of arrest, search, and seizure warrants. I have also conducted and assisted

 in child pornography and child exploitation investigations, which have involved reviewing

 examples of child pornography in all forms of media including computer media and have discussed

 and reviewed these materials with other law enforcement officers.
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         4.       The information set forth in this Affidavit is provided in support of the attached

 criminal     complaint      charging     Moises      RODRIGUEZ            SANTIAGO           (“RODRIGUEZ

 SANTIAGO”) with the following violations: Distribution of Child Pornography, in violation of

 Title 18, United States Code, Section 2252(a)(2); Receipt of Child Pornography, in violation of

 Title 18, United States Code, Section 2252(a)(2); and Possession of Child Pornography, in

 violation of Title 18, United States Code, Section 2252(a)(4)(B). This Affidavit is intended only

 to establish probable cause to believe that the offenses were committed. As such, it does not include

 each and every fact known to law enforcement about this investigation.

                                            PROBABLE CAUSE

         5.       In or around January 2023, law enforcement arrested an individual involved in the

 receipt, distribution, and possession of child pornography (the “Subject”). A search of the

 Subject’s mobile phone revealed that he had distributed child pornography via a number of

 different platforms, including WhatsApp. 1

         6.       Law enforcement located conversations, dated August 24, 2021, to August 17,

 2022, that the Subject had with WhatsApp telephone number ending in 4679, which was later

 determined to be used by RODRIGUEZ SANTIAGO. RODRIGUEZ SANTIAGO is thirty-one

 years old and is a resident of Miami-Dade County. In the chats, RODRIGUEZ SANTIAGO and

 the Subject exchanged child pornography, fantasized about having sex with an 11-year-old male,

 and RODRIGUEZ SANTIAGO described sexual interactions he had with a minor male.

         7.        On or about September 2, 2021, RODRIGUEZ SANTIAGO told the Subject

 about a sexual experience RODRIGUEZ SANTIAGO had with a purported 15-year-old male.


 1
  The WhatsApp application (“WhatsApp”) is an internet-based instant messaging application used to send and receive
 messages, images, videos, mobile webpages, and other content. WhatsApp users are required to register with a phone
 number.



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 RODRIGUEZ SANTIAGO said that he met the 15-year-old male on Snapchat, and they later

 met in person. RODRIGUEZ SANTIAGO said that they had engaged in several sexual acts and

 at the time he did not know the male was a minor, but he learned that he was 15 years old after the

 encounter.

         8.      On or about September 7, 2021, the Subject sent RODRIGUEZ SANTIAGO a

 one-minute video of an adult male forcing a prepubescent male to perform oral sex on the adult

 male. RODRIGUEZ SANTIAGO replied: “I saw that one master. Keep sending.” The Subject

 sent RODRIGUEZ SANTIAGO a one minute and twenty-six second video depicting a

 prepubescent male stroking an adult male’s penis with his hand, then the prepubescent male

 performs oral sex on the adult male. RODRIGUEZ SANTIAGO replied: “This one is my fav.

 It’s so explicit and clear.”

         9.      On or about October 23, 2021, RODRIGUEZ SANTIAGO and the Subject talked

 about RODRIGUEZ SANTIAGO having a second sexual encounter with the same 15-year-old

 male they previously discussed on September 2, 2021. RODRIGUEZ SANTIAGO told the

 Subject, “It happened again. The 15 yo kid.” The Subject asked, “Did u record?” Law enforcement

 was able to see thumbnail images showing what RODRIGUEZ SANTIAGO sent in reply to the

 Subject including: one image of what appears to be a male inserting an erect penis into the anus of

 another male; one image of what appears to be a male standing up with an erect penis; one image

 of a what appears to be a teenage male; and one image of what appears to be a male with an erect

 penis. RODRIGUEZ SANTIAGO added: “I licked EVERYWHERE. Cuz I wanted to feel his

 tender skin, feel that rush of being with a minor, and serve him.”

         10.     On or about November 2, 2023, a law enforcement officer acting in an undercover

 capacity (“UC”) began communicating with RODRIGUEZ SANTIAGO on WhatsApp.




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 RODRIGUEZ SANTIAGO sent the UC two photographs of himself. RODRIGUEZ

 SANTIAGO’s face as depicted in the photographs sent to the UC contained a similar facial

 structure to the photograph attached to RODRIGUEZ SANTIAGO’s DAVID record.

          11.   Also, on or about November 2, 2023, RODRIGUEZ SANTIAGO told the UC he

 has been having sexual interactions with a minor male since the minor was 14 years old.

 RODRIGUEZ SANTIAGO told the UC the 14-year-old male is now 17 years old.

 RODRIGUEZ SANTIAGO sent the UC two images of the minor male. One image of the minor

 male’s face that was sent to the UC by RODRIGUEZ SANTIAGO appears to be the same image

 RODRIGUEZ SANTIAGO sent to the Subject in 2021. The second image appears to be a newer

 photograph of that same minor male.

          12.   Based on photographs and other identifying information of the minor male that

 RODRIGUEZ SANTIAGO provided in the WhatsApp chat, law enforcement was able to

 identify and confirm that at the time the individual was a 15-year-old male.

          13.    On May 1, 2024, the Honorable Lisette M. Reid authorized a federal search

 warrant for the person and devices of RODRIGUEZ SANTIAGO (case number 24-MJ-02874-

 REID).

          14.    On May 9, 2024, law enforcement executed the federal search warrant in Miami-

 Dade County. An on-site review of RODRIGUEZ SANTIAGO’s phone showed that it had an

 Apple ID with the name “Moises Rodriguez” and was assigned telephone number ending in 4679.

          15.    Law enforcement located the WhatsApp application on RODRIGUEZ

 SANTIAGO’s phone. A review of the WhatsApp application showed that the WhatsApp account

 name “Moises Rodriguez,” telephone number ending in 4679, was currently logged in; the same

 WhatsApp account that communicated with the UC. A review of chats within the WhatsApp




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 application showed messages between RODRIGUEZ SANTIAGO and the UC; however,

 RODRIGUEZ SANTIAGO deleted his messages.

        16.     A review of chats within the WhatsApp application also showed messages

 between RODRIGUEZ SANTIAGO and the Subject. Law enforcement observed two videos of

 child pornography sent from the Subject to RODRIGUEZ SANTIAGO on or about September

 7, 2021, which appeared to be the same videos law enforcement had observed through the

 Subject’s phone.

        17.     Law enforcement also found chats between RODRIGUEZ SANTIAGO and the

 Subject from on or around October 22, 2021, in the WhatsApp application. The images and video

 that RODRIGUEZ SANTIAGO sent Subject appear to be the same as those law enforcement

 observed through the Subject’s phone.

        18.     On May 9, 2024, Law enforcement conducted an audio-recorded interview of

 RODRIGUEZ SANTIAGO. Prior to questioning, RODRIGUEZ SANTIAGO was advised of

 his Miranda rights, which he stated he understood and waived both verbally and in writing. Post-

 Miranda, RODRIGUEZ SANTIAGO confirmed that the phone and laptop that were on his

 person at the time of contact with law enforcement were his, and that his phone number was 4679.

 RODRIGUEZ SANTIAGO also recalled receiving child pornography from the Subject.

        19.     Additionally, RODRIGUEZ SANTIAGO informed law enforcement that he had

 sexual interactions with a male who he met on Grindr. RODRIGUEZ SANTIAGO said that he

 later discovered said male was a minor, approximately 16 years old. RODRIGUEZ SANTIAGO

 said that he continued to have sexual interactions with the minor male despite learning he was a

 minor. RODRIGUEZ SANTIAGO was then shown the above referenced WhatsApp chats, dated

 October 22, 2021. RODRIGUEZ SANTIAGO confirmed that the images sent to the Subject were




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                     10th
